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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                                                   §
 v.                                                § CASE NUMBER 4:22-CR-00075-ALM
                                                   §
                                                   §
 ANTHONY JOSEPH HAMMER,                            §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

       The Court referred this matter to the Honorable Kimberly C. Priest Johnson, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Johnson conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11, and issued her Findings of Fact and Recommendation on Guilty Plea

before the United States Magistrate Judge Kimberly C. Priest Johnson.               Judge Johnson

recommended the Court accept Defendant’s guilty plea. She further recommended the Court

adjudge Defendant guilty of Count One of the Indictment filed against Defendant.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

Kimberly C. Priest Johnson are ADOPTED. The Court accepts Defendant’s plea but defers

acceptance of the plea agreement until after review of the presentence report. It is further

ORDERED that in accordance with Defendant’s guilty plea and the magistrate judge’s findings

and recommendation, Defendant, Anthony Joseph Hammer, is adjudged guilty of the charged

offense under Title 18 U.S.C. § 875(c).
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 SIGNED this 23rd day of May, 2022.




                           ___________________________________
                           AMOS L. MAZZANT
                           UNITED STATES DISTRICT JUDGE
